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                                                                             Bradley P. Lehman, Esq.
                                                                             302-416-3344
                                                                             blehman@gsbblaw.com




                                         February 14, 2022
Via CM/ECF
The Honorable Maryellen Noreika
United States District Court, District of Delaware
J. Caleb Boggs Federal Building
844 N. King Street
Unit 19 Room 4324
Wilmington, DE 19801

       RE:     Rigby, et al., v. Jennings
               C.A. No. 1:21-cv-1523-MN

Dear Judge Noreika:

        We represent the Plaintiffs in the above-referenced action. Pursuant to Your Honor’s Order
dated February 8, 2022 (D.I. 29), granting Plaintiffs’ Motion for Leave to Supplement Reply in
Support of Motion for Preliminary Injunction (D.I. 28), please allow this letter to serve as Plaintiffs’
supplemental letter brief in response to the letter of Defendant Attorney General Kathy Jennings
(“Defendant”) dated February 4, 2022, with attached Exhibit A (D.I. 27, 27-1) and Defendant’s
letter dated February 10, 2022 (D.I. 30). Your Honor’s Order dated January 27, 2022 (D.I. 26),
required “that, if Defendant intends to introduce evidence related to whether the challenged
provisions pass constitutional muster, it shall inform the Court and submit any such evidence (or
a proffer of evidence that may be adduced at a hearing) . . . . ”

       Defendant’s counsel, in the February 4 letter responding to Your Honor’s Order,
characterized Defendant’s Exhibit A (D.I. 27-1; “Exhibit A”) as “data collected by the Delaware
State Police demonstrating the rise in ‘ghost gun’ cases over the last few years” (see D.I. 27).
However, as discussed at length below, this purported “data” is nothing more than a haphazard,
unverified collection of anecdotes devoid of probative value, statistical merit, and context.
Moreover, from an empirical standpoint, Exhibit A, far from demonstrating a rising public safety
problem in need of a legislative solution, actually provides valuable evidence that the existence of
self-manufactured firearms (SMFs)—referred to as “ghost guns” by Defendant—is not a problem
in need of a legislative solution, especially not a “solution” that categorically and indiscriminately
bans an entire class of commonly-owned, and thus constitutionally-protected, firearms.
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         In that same February 4 letter, Defendant’s counsel also “proffer[ed] that, at a hearing, it is
anticipated that research, reports, and/or statistics relied upon by the Delaware Legislature in
developing HB 125 would be submitted as evidence.” (D.I. 27). In response to this ambitious
“proffer,” Your Honor ordered that “[o]n or before 2/10/2022, Defendant shall submit any such
reports or other evidence on which she intends to rely so that Plaintiffs may have a fair opportunity
to respond.” (See D.I. 29). In her letter of February 10, Defendant indicated that she “is not
submitting additional evidence and will rely on the evidence previously submitted on February 4,
2022.” (D.I. 30). Defendant’s striking failure to submit anything to back up her proffer of
“research, reports, and/or statistics” is telling—this is a clear indication that Defendant simply does
not have any evidence sufficient to meet the State’s burden of justification under heightened
scrutiny. See Hassan v. City of New York, 804 F.3d 277, 305 (3d Cir. 2015) (quoting United States
v. Virginia, 518 U.S. 515, 533 (1996)) (cited by this Court in D.I. 26) (“[T]he burden of
justification under both intermediate and strict scrutiny ‘is demanding and . . . rests entirely on the
state[.]”).

       Accordingly, and for the reasons set forth below, the purported evidence contained in
Exhibit A only confirms that the challenged provisions of HB 125 (11 Del. C. § 1459A; 11 Del.
C. §§ 1463(a), (b), and (c)(1); and 11 Del. C. § 1463(c)(2)) are unconstitutional.

                    Response to Defendant’s February 4, 2021, Submission

       Exhibit A contains 57 separate instances in which Delaware law enforcement officers
purportedly documented the presence of an SMF. The key points revealed from this data are as
follows:

        •No instance in which the presence or absence of a serial number was material: In
        none of the 57 instances is there any evidence that law enforcement was hindered or
        frustrated by the lack of a serial number on an SMF. In the only instance involving a
        defaced firearm, officers recovered a “handgun with an obliterated serial number” (January
        2021). Thus, the presence or absence of a serial number was totally immaterial in every
        instance in Exhibit A.

        •No alleged crimes of any kind involving the use of an SMF: Of the 57 instances, 28
        involved alleged or possible criminal activity other than illegal possession of a firearm (23
        instances of alleged drug-related crime, 4 instances of investigated or reported assaults,
        and 1 investigation into an alleged shooting), but none of these 28 instances involved the
        use of an SMF in the commission of any alleged crime, violent or otherwise. 1 In one of the
        four instances of investigated or reported assault, the assault was apparently committed
        using a serialized firearm, but the documented SMF was legally possessed by the victim


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  One instance (April 2020) references an “investigation into a shooting” which led “to the
recovery of a Polymer 80 handgun,” although it is unknown from the data presented whether the
Polymer 80 was used in the alleged shooting.
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    (October 2020); in the other three instances of alleged assault, there is no indication that
    an SMF was used in the assault. There is also no indication that an SMF was used in the
    investigated shooting. In addition, of the 57 instances described in Exhibit A, 28 involved
    individuals disqualified from possessing any firearm, whether serialized or unserialized—
    23 instances involving individuals categorized only as “prohibited persons,” three
    instances involving individuals specifically identified as felons, one instance involving an
    underage individual, and one instance involving an individual who had been involuntarily
    committed. Moreover, of the 57 instances, four involved possession of stolen firearms, but
    none of those stolen firearms were SMFs.

    •Multiple instances clearly involving no criminal activity at all: Defendant pads the
    total number of instances with the inclusion of numerous unequivocally non-criminal
    episodes. Indeed, five of the 57 instances clearly involved no criminal activity: (January
    2020 [“During a traffic stop officers located a privately made firearm in the center console
    of a vehicle. No crime associated.”]; (February 2020 [“During a call for assistance, officers
    located a Polymer 80/.22 LR. The possessor was not a person prohibited and no crime
    occurred.”]; (August 2020) [“During an emergency call at a residence, officers recovered
    a Polymer 80 .22 LR privately made firearm. No crime associated with the recovery.”];
    (September 2020) [“During a verbal domestic officers located a privately made firearm.
    No crimes associated.”]; and (December 2020) [“During a traffic stop, officers located a
    privately made .556 rifle within the vehicle. Possessor was not a prohibited person.”].

    •No link between SMFs and fatalities: Only one of the 57 instances in Exhibit A involved
    a death (a suicide). No specific cause of death is provided. Thus, it is unknown whether an
    SMF, or any firearm for that matter, was actually used in connection with the suicide.
    (October 2020).

    •No statistically significant link between SMFs and injuries: Only one of the 57
    instances explicitly involved an injury inflicted by an individual’s use of an SMF, and that
    one instance involved an accidental discharge (a self-inflicted hand wound by a 19-year-
    old man). (August 2018). Five other instances involved possible injuries (a shooting
    investigation in April 2020 and the aforementioned assault investigations [two in October
    2020, one in December 2020, and one in January 2021]), but for each of these five
    instances, there is no indication as to what—if any— injuries were sustained, and no
    indication as to whether any injuries were inflicted by use of an SMF.

    •No evidence that any crimes or investigative problems for law enforcement would
    have been prevented if HB 125 had been enacted earlier: Exhibit A reveals that no
    crimes were committed using an SMF, no investigations were impeded by the existence of
    SMFs, law enforcement did not encounter any problems unique to SMFs, and “prohibited
    persons” were already in violation of the law by possessing any firearm. In summary, the
    State has failed to demonstrate that the bans contained in HB 125 would have prevented
    any crimes committed prior to the enactment of HB 125.
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        •No mention of 3D printing at all: Notably, nowhere in Exhibit A is the concept of 3D
        printing mentioned at all, and none of the incidents described therein is alleged to involve
        a firearm constructed in Delaware with the aid of a 3D printer. Accordingly, Defendant has
        submitted absolutely no evidence that could conceivably justify the Instructions Ban.

       Exhibit A is also plagued by multiple problems from an evidentiary standpoint. First,
Defendant vaguely describes Exhibit A as “data collected by the Delaware State Police . . . .”
However, none of the 57 instances described in Exhibit A contains any indication as to which law
enforcement agency was involved in the particular instance (i.e., Delaware State Police, New
Castle County Police Department, any of Delaware’s 37 municipal police departments, or any of
Delaware’s various other law enforcement bodies).

        Second, Exhibit A is largely anecdotal in nature—it is devoid of any information regarding
criminal convictions relating to SMFs and almost devoid of any information regarding arrests 2
relating to SMFs. Instead of more concrete data regarding arrests or convictions, Exhibit A consists
of vague descriptions without information about the ultimate outcome of each instance: for
example, “traffic stops” (17 instances), “investigations” (14 instances), responses to “calls” (4 such
instances), and “pedestrian stops” (3 instances).

        Third, consistent with Exhibit A’s anecdotal nature, there is no indication as to who, or
what agency, prepared each of the incident descriptions, or where each of the descriptions was
originally sourced. Thus, there is no assurance of the accuracy of the descriptions in each instance.

        Fourth, further calling into question the accuracy of the “data” in Exhibit A, there are no
specific dates provided for any of these anecdotes, only months.

       Fifth, Defendant claims that Exhibit A, which begins with anecdotes starting in August
2018, demonstrates a “rise in ‘ghost gun’ cases over the last few years.” (D.I. 27) (emphasis
added). Notably, Defendant does not provide any evidence regarding the number of “ghost guns”
observed or recovered in Delaware prior to August 2018. Thus, Defendant’s claim that there has
been a “rise” in “ghost gun cases” is pure, self-serving conjecture.

                   Response to Defendant’s February 10, 2021, Submission

         In her letter of February 10, Defendant indicated that she “is not submitting additional
evidence and will rely on the evidence previously submitted on February 4, 2022.” (D.I. 30). This
failure to submit any additional evidence—after explicitly claiming that “research, reports, and/or
statistics relied upon by the Delaware Legislature in developing HB 125” would be made available
in the event of a hearing—confirms that there was no articulable State interest behind the
enactment of HB 125, and thus the challenged bans cannot withstand heightened scrutiny. In other


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 Exhibit A contains one instance in which a subject was “interviewed after being arrested in
possession of two firearms as a prohibited person for a domestic assault conviction.”
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words, the State of Delaware enacted the challenged bans merely because it wanted to, not because
there was any basis to do so. Indeed, Exhibit A—the State’s only “evidence”—is nothing more
than a list of anecdotes cobbled together after the fact, reflecting the reality that in passing HB 125
the State was not seeking to solve an actual problem that it took any time to study, but instead
hastily enacted the challenged bans in response to a non-existent public safety bogeyman.

        In addition to the numerous empirical and evidentiary problems that plague Exhibit A,
Defendant has failed to identify any link between Exhibit A and the Delaware legislature’s
lawmaking process. Indeed, Defendant has provided no indication that the General Assembly was
even aware of or considered the incidents described in Exhibit A. The State cannot attempt to
justify the challenged bans post-enactment using a list of anecdotal incidents without providing
any evidence as to whether the legislature considered these incidents prior to the enactment of HB
125.

       In summary, Defendant’s inability to present any empirical research, reports, or statistics
to supplement Exhibit A should be fatal to her defense of HB 125.

                                             Conclusion

        In light of the foregoing, Defendant cannot credibly claim that the challenged bans
contained in HB 125 serve an important government interest in public safety. While Defendant
has established that SMFs exist, which is not in dispute, Defendant has utterly failed to show that
SMFs present any particular or heightened risk to public safety that could justify the bans contained
in HB 125.

       Plaintiffs do not believe that Defendant has presented any evidence which requires a
hearing; however, Plaintiffs stand ready to present should the Court be inclined to hear oral
argument on the pending motions.
                                           Respectfully submitted,

                                               GELLERT SCALI BUSENKELL & BROWN LLC

                                               /s/ Bradley P. Lehman
                                               Bradley P. Lehman (No. 5921)
                                               1201 N. Orange Street, Suite 300
                                               Wilmington, DE 19801
                                               P: (302) 425-5800
                                               E: blehman@gsbblaw.com

                                               Attorneys for Plaintiffs
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       OF COUNSEL:

       JOSHPE MOONEY PALTZIK LLP
       Edward Paltzik
       1407 Broadway, Suite 4002
       New York, NY 10018
       P: (212) 344-8211
       E: epaltzik@jmpllp.com
       Admitted Pro Hac Vice


Cc: Patricia A. Davis, Esq. (via ECF)
   Kenneth L. Wan. Esq. (via ECF)
